                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                           Case No. 20-cr-168 (WMW/ECW)

                      Plaintiff,

        v.                                                          REPORT AND
                                                               RECOMMENDATION
 Montez Terriel Lee, Jr.,

                      Defendant.


       This matter is before the Court on Defendant Montez Terriel Lee, Jr.’s Motion to

Dismiss Indictment (Dkt. 26).

       The Court held a hearing on the motions on November 20, 2020 by Zoom for

Government. Thomas Calhoun-Lopez, Assistant U.S. Attorney, appeared on behalf of

Plaintiff United States of America (“the Government”) and Andrew Garvis appeared on

behalf of Defendant Montez Terriel Lee, Jr., who consented to holding the hearing by

Zoom for Government and was present at the hearing via Zoom for Government.

       The Motion to Dismiss was referred to the undersigned United States Magistrate

Judge for a report and recommendation pursuant to 28 U.S.C. § 636 and Local Rule 72.1.

                             I.     MOTION TO DISMISS

       In an August 12, 2020 Indictment (Dkt. 14), a Grand Jury indicted Defendant

Montez Terriel Lee, Jr. (“Defendant” or “Lee”) on one count of Arson on Property Used

in Interstate Commerce in violation of 18 U.S.C. § 844(i). As to this Count, the

Indictment provides in relevant part as follows:
                                       COUNT 1
                     (Arson on Property Used in Interstate Commerce)

       On or about May 28, 2020, in the State and District of Minnesota, the
       defendant,

                              MONTEZ TERRIEL LEE, JR,

       maliciously damaged and destroyed, by means of fire and explosive
       materials, the Max It Pawn Shop, located at 2726 East Lake Street, a building
       used in interstate commerce, in violation of Title 18, United States Code,
       Section 844(i)[.]

(Dkt 14 at 1 (emphasis in original).)

       Section 844 provides in relevant part:

       (i) Whoever maliciously damages or destroys, or attempts to damage or
       destroy, by means of fire or an explosive, any building, vehicle, or other real
       or personal property used in interstate or foreign commerce or in any activity
       affecting interstate or foreign commerce shall be imprisoned for not less than
       5 years and not more than 20 years, fined under this title, or both; and if
       personal injury results to any person, including any public safety officer
       performing duties as a direct or proximate result of conduct prohibited by
       this subsection, shall be imprisoned for not less than 7 years and not more
       than 40 years, fined under this title, or both; and if death results to any person,
       including any public safety officer performing duties as a direct or proximate
       result of conduct prohibited by this subsection, shall also be subject to
       imprisonment for any term of years, or to the death penalty or to life
       imprisonment.

18 U.S.C. § 844(i) (emphasis added).

       Lee now moves the Court pursuant to Rule 7(c)(1) of the Federal Rules of

Criminal Procedure to dismiss the Indictment “because it erroneously charges the

defendant with maliciously damaging and destroying the Max It Pawn Shop by ‘fire and

explosive materials’ wherein no explosive was used by defendant as defined under 18




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U.S.C. §844(j) or explosive or incendiary devices within the meaning of paragraph (5) of

section 232 of this title.” (Dkt. 26.)

       The Government counters that where a statute specifies two or more ways in

which an offense may be committed, all may be alleged in the conjunctive in one count

of the indictment, and proof of any one of the acts conjunctively charged may establish

guilt. (Dkt. 28 at 6-7.) The Government argues that this, coupled with the fact that

§ 844(i) specifies two ways in which the crime can be committed—destroying a building

by fire or by explosive—must lead to the denial of Lee’s Motion to Dismiss. (Id.)

       “Where a statute specifies two or more ways in which an offense may be

committed[,] all may be alleged in the conjunctive in one count of the indictment, and

proof of any one of the acts conjunctively charged may establish guilt.” United States v.

Mohr, 728 F.2d 1132, 1135 (8th Cir. 1984). As such, the mere fact that a single element

in the only count in this case—whether the destruction of property was caused by fire or

explosive device—is asserted in the conjunctive is not a valid basis in of itself to dismiss

the entire Indictment. To the extent the parties believe the Indictment needs to be

narrowed, they can do so by motion before United States District Judge Wilhelmina M.

Wright. See United States v. Benedict, No. 13-CR-150 SRN/FLN, 2013 WL 6404956, at

*1 (D. Minn. Dec. 6, 2013) (citing United States v. Miller, 471 U.S. 130, 144 (1985))

(allowing amendments for purposes of narrowing an indictment).




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                             II.    RECOMMENDATION

      Based on the files, records, and proceedings herein, IT IS RECOMMENDED

THAT: Defendant Montez Terriel Lee, Jr.’s Motion to Dismiss Indictment (Dkt. 26) be

DENIED.



DATED: December 18, 2020                        s/Elizabeth Cowan Wright
                                                ELIZABETH COWAN WRIGHT
                                                United States Magistrate Judge




                                          NOTICE

This Report and Recommendation is not an order or judgment of the District Court and is
therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under District of Minnesota Local Rule 72.2(b)(1), “a party may file and serve specific
written objections to a magistrate judge’s proposed finding and recommendations within
14 days after being served a copy” of the Report and Recommendation. A party may
respond to those objections within 14 days after being served a copy of the objections. D.
Minn. LR 72.2(b)(2). All objections and responses must comply with the word or line
limits set for in D. Minn. LR 72.2(c).




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